Appendix: ECF No. 37-5, PagelD.1551 Filed 10/07/24 Page 1 of 2

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Cagle 2V23860-TABBES SECE- RA SA-1. CRONIO SEY -GleP AQ/61241 Bag 2ieled 10/07/24

3rdcopy - Opposing party
Approved, SCAO 2nd copy- Friend of the Courv/Extra Ath copy - Moving party,
STATE OF MICHIGAN CASE NO.
JUDICIAL CIRCUIT
45th JUDICIAL DISTRICT ORDER TOG
COUNTY

Court address Court telephone no.

13600 Oak Park Blvd, Oak Park, MI 48237 (248)691-7440

Plaintiff name(s), add jephone nojs). Defend (s), address(es), and telephone no(s).

JP Morgan Chase Beak, N. a Katrina I Bergunder

24674 Republic Ave.
v Oak Park, MI 48237
(773)853-7085

IPraintars bar no., address, and telephone no. Defendant's att bar no., address, and no,
Mandarich Law Group, LLP

James McArdle

P-82443

P.O. Box 109032, Chicago, IL 60610

(866)757-4738

1. Motion title: Motion-te-sxoludewitness-and-diemiso~ Pisin tss wait gee fade CQ

2. Moving party: Katrina Bergunder, defendant

3. This motion was heard by the Honorable Jodge Michelle Friedman Appel

yt For the reasons stated on the record,

THE COURT ORDERS that the above-named motion Is

Mine “CAce orders

on 02/21/2023
Date

{J granted.

() granted in part, denied in part.

Cl denied.

Ice Io dismissed wtb pent Le -

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TRUE ROR SY

aN

FEB 2 1 2023

Date

Mc 327 (6/17) ORDER

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